Case: 1:17-Cv-06398 Document #: 6 Filed: 09/14/17 Page 1 of 2 Page|D #:15

mud (ln.MM)~A-ldvlm

UNI'I`ED STATES DISTRICT COURT

NORTI[R.N DISTR|Cl`Ol-' lLlJNOlS
SUMMONS IN A ClVlL CASE
Nicole Garden
CASE NWBBK 17_¢'.»-6398
V. AS J :
gm m Hon. Rcbccca R. Pallmeyer
m me shop, LLC
IUONATE)

merule nmcm: Hon. Daniel G. Mam`n

TO:(u-ma_¢mh~;

Thc Txlc Shop, LLC

14000 Caxison Parkway_ Plymomh, MN 55441
c.f`o C‘I` Corponuon Systcm

208 S LaSalle Sr., Sre 814 Chicago_ lI. 60604

YOU m nlm¥ SUMMONED ltd mqliled lo Ie\’ve lyon PLA.INTIFF’S ATTORNEY (o-n-n“r-|

Robenson Dunc
Ooc North l;lSaJle. Sulte 300
Cln'cago, IL 60602

mmutotheoooplz‘nlwhichisherewihsened\pmym, 21 daysd’c¢sem'oed`this

aluminum you,exc\nive ofd\e¢hyofservioe. lfyoufail todoso.judgn¢m bydehullwi|l bauman yourch
ne m|id`dmoded intbeeou'pla'nt. You must abc tile you-ansme meC|e¢k d`lhisCoun wi\h'na resemble
po'iodoftimnnenuvioe.

'l'HOMAS G. BRUTON, CLERK

VWM

(By) DlTUTY CLER.K

Scptembu(i, 2017

I)ATE

 

 

 

 

Case: 1:17-Cv-06398 Document #: 6 Filed: 09/14/17 Page 2 of 2 Page|D #:16

.»\() 440 gRgv. 05 »(ll} .§g` mma m a (`m| A¢:mn
R£`rl`RN (`)F S£R\'l(`£

_ m n §e©%@mw@mt , 337
N\wmslk\lx/ )L\lv\n M"{Z ; Rl€C l u -’Df.t\/rct_i_€ be_t_€(;%l\/€

(`hm l orr fm I hvan w mdnv'uk~ u{yvrq\rmh' nethminf.rrr\‘i¢ e ‘

 

 

van
Sa\ m: \)v'\hc Smm\w\s.m! complain ns nude by md'

 

 

 

 

 

§ $cr\rd pa\»na|l_\ ugu~\ the dcfu\\hm Plnc u hac sched.

 

[I lcn ¢q»e‘ lh¢~n-u|al the dcfcud.u`s duclli

l\q,x hour \l mud p|.x‘c of ;hvd¢ with a pawn of middle a_gr: and
durkin-m lhu\ mustang lh:l:m.

.'\`amc uf rcer blm \'h~m lhc §nmm.)m ind complaint \s¢m lefl.

 

C Rd'umcd \muc<ulcd,

 

 

 

v</,m.,¢.m.@._`U/ze’t"ll@ %i/\o\‘>,Lz/C/ was served Q/o C»`F

C@v~p. §§ng 3`303 S. w§q<l€, ,S+C‘j§!¢f
\`C @\ \L/ <00(00¢4` ' DQVWQ.!¢ \“cacice~(’f';w\£illmevd*
SDQUOH c`~z+ ~ M/AA/O”z‘/{

§1`.\1¥§ Ml\`.\'l` ()I' Sl. ll\`l(`l`. Fl.l`.§
\'IR\'I( '| 5

 

 

 

 

I RA\'H

 

Irm»\l

 

D£(`I.ARATION ()F S[.R\ [Il

 

l.\cclm: under pemlry of palm under \hc lam

of thc l'm`!cd SL\\¢'» \-fAm:rn tim thc l'\vcgoln|¢ infd\lmalmn
concurred in tdc R:xun\ `)f$cr\\cc and Sl.ucmv:n¢ ofScr\w

¢ F¢c\ n unc and cancel

9~//»301-7/3;/§@7$@»&¢,
/@/‘-’ @ /

/333 w /¢@”‘ §7‘/ Oh/mg@ /;
@O(Mj

 

 

 

 

(‘. \ \\ \u \hu Ny gm A van\\ee Rul¢ 4 o| l}¢ ideal Ru`r\ \ll (`)n| l`!\`alm

 

